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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: T−MOBILE CUSTOMER DATA SECURITY
BREACH LITIGATION                                                                                MDL No. 3019



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −2)



On December 3, 2021, the Panel transferred 5 civil action(s) to the United States District Court for the
Western District of Missouri for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See __F.Supp.3d__ (J.P.M.L. 2021). Since that time, no additional action(s) have been transferred to
the Western District of Missouri. With the consent of that court, all such actions have been assigned to the
Honorable Brian C. Wimes.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Western District of Missouri and assigned to Judge Wimes.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Western District of
Missouri for the reasons stated in the order of December 3, 2021, and, with the consent of that court, assigned
to the Honorable Brian C. Wimes.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Western District of Missouri. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:




                                                           John W. Nichols
                                                           Clerk of the Panel
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IN RE: T−MOBILE CUSTOMER DATA SECURITY
BREACH LITIGATION                                                    MDL No. 3019



                     SCHEDULE CTO−2 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


WASHINGTON WESTERN

 WAW          2       21−01250     Wellman v. T−Mobile USA Inc
